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                   EXHIBIT B
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 1                        UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK
 2                      CIVIL ACTION NO. 1:20-cv-3178-LJL

 3     ----------------------------------------x
       HC2, INC.,
 4                                  REMOTE DEPOSITION UPON
                  Plaintiff,           ORAL EXAMINATION
 5                                           OF
                  - vs -               ANDREW DELANEY
 6
       ANDREW DELANEY,
 7
                 Defendants.
 8     -----------------------------------------x

 9                  T R A N S C R I P T       of the Deposition

10     of ANDREW DELANEY taken before DIANA L. R. SENATORE,

11     Certified Court Reporter and Notary Public of the

12     States of New Jersey and New York, all parties

13     appearing remotely, on September 9, 2020, commencing

14     at 11:14 a.m.

15

16

17

18

19                       SENATORE REPORTING, LLC.
                        CERTIFIED COURT REPORTERS
20                           (908) 500-1361
                          senatorerep@embarqmail
21

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23

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 1     A P P E A R A N C E S:

 2     OGLETREE, DEAKINS, NASH, SMOAK & STEWART, PC.

 3                  10 Madison Avenue, Suite 400

 4                  Morristown, New Jersey 07960

 5                  michael.nacchio@ogletree.com

 6     BY:    MICHAEL NACCHIO, ESQ.

 7     Attorneys for Plaintiff

 8

 9

10     ROBERT ROTMAN, ESQ.

11                  305 East 24th Street, Suite 17R

12                  New York, New York 10010

13                  rrotmanlaw@gmail.com

14     Attorney for Defendant

15

16

17

18
       A L S O      P R E S E N T:
19

20     STEPHANOS ZANNIKOS, General Counsel Hire Counsel

21

22

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 1                  COURT REPORTER:      Good morning.      I am Diana

 2     Senatore, Certified Court Reporter, and Notary

 3     Public in the States of New York and New Jersey.

 4                  Today's date is September 9, 2020.

 5     The time is approximately 11:14 a.m.

 6                  This is the remote deposition of Andrew

 7     Delaney in the matter HC2, Inc. vs. Andrew Delaney.

 8     This case is venued in the United States District

 9     Court, Southern District of New York.            All parties

10     in today's deposition will be appearing remotely to

11     comply with the guidance of the Center for Disease

12     Control in response to the COVID 19 pandemic.

13                  Before I swear the witness, I will ask

14     counsel to identify themselves, state their interest

15     in the case, and stipulate on the record that the

16     court reporter may swear in the deponent, even

17     though I am not in the physical presence of the

18     deponent, and that there is no objection to that at

19     that time, nor will there be an objection to it at a

20     future date.

21                  MR. NACCHIO:     I so stipulate.

22                  MR. ROTMAN:     I do so as well.

23                  COURT REPORTER:      Thank you.

24

25
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                               DELANEY - Direct

 1     A N D R E W         D E L A N E Y,    residing at

 2                  127 West 80th Street, New York, New York,

 3                  10024, having been duly sworn, testifies

 4                  as follows:

 5     DIRECT EXAMINATION BY MR. NACCHIO:

 6            Q.    Mr. Delaney, my name's Michael Nacchio.

 7     I'm an attorney at Ogletree, Deakins.            We represent

 8     HC2, Inc., better known as you know, as well, as

 9     Hire Counsel.        And you are here today to give your

10     remote deposition by Zoom pursuant to notice, as

11     well as a court order.        And your deposition today

12     will cover HC2's claim against you -- claims against

13     you, as well as your counterclaims against HC2.

14                  Do you understand that is the scope and

15     purpose of your appearance here today, sir?

16            A.    Yes.

17            Q.    Okay.    Thank you.

18                  As you could obviously tell, Mr. Delaney,

19     this is remote.       There may be periods during today

20     when we have internet lag or disruption.             And while

21     I'm sure somebody of your experience is familiar

22     with deposition instructions, I ask that you just

23     bear with me through some preliminary instructions.

24     The first and most important of which is I do not

25     want you to respond to a question today unless you
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                                                                    9



                              DELANEY - Direct

 1     times.

 2             A.   Yeah.

 3             Q.   Okay.    I'll put the amended counterclaims

 4     back up for you.

 5                  On April 22 this action was commenced in

 6     the Southern District of New York; correct?

 7             A.   Yes.

 8             Q.   And on April 22, 2020 you maintained

 9     permanent residency in the State of New York;

10     correct?

11             A.   I was living in Florida at that time.

12             Q.   But you had an address in New York, the

13     one that you gave at the beginning of this

14     deposition, sir; right?

15             A.   I had an address in New York, but that's

16     not where the pleadings were sent.           In fact, they

17     were sent by e-mail to my Florida attorney, who told

18     them that he was not accepting any process for me.

19     And they were just dumped on him by the Kasowitz law

20     firm.

21             Q.   Do you own property in Florida?

22             A.   No.

23             Q.   Okay.    Where were you living in Florida at

24     the time?

25             A.   I was living at a service apartment.
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                                                                    9



                              DELANEY - Direct

 1     paragraph seven.       The proceedings here in New York

 2     and Florida --

 3                  MR. NACCHIO:     Strike that.

 4                  Withdrawn.

 5            Q.    Paragraph 70.      The proceedings both in

 6     Florida and New York show coordination,

 7     information-sharing, and joint presentation of

 8     witnesses and evidence among HC2, the law firm, and

 9     the corporation.

10                  What is the basis for the statement that

11     there is coordination, information-sharing, and

12     joint presentation of witnesses?

13            A.    It's a fact that's happening.

14            Q.    Is that your opinion as well?

15            A.    No, that's a fact.

16            Q.    Okay.    And tell me those facts that this

17     allegation is based on.

18            A.    Well, how much do you know --

19                  MR. ROTMAN:     Objection.

20            A.    -- about the Florida action?         You seem to

21     know a lot about it.

22            Q.    Are you gonna answer my question or not?

23                  MR. ROTMAN:     Objection.     Don't answer that

24     question.

25            A.    Absolutely.     Happy to.
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                                                                    9



                               DELANEY - Direct

 1     group litigation, you're working together, and

 2     you're trying to make it very difficult for me by

 3     having multiple proceedings involve Florida and in

 4     New York.     And --

 5            Q.    Why -- I don't want to cut you off.

 6     Please continue, sir.

 7                  Mr. Delaney.

 8            A.    What?

 9            Q.    Finish, please.

10            A.    Finish what?

11            Q.    You were giving a statement and I

12     inadvertently interrupted.

13            A.    I'm waiting for you asking some questions.

14            Q.    No, no, no.     Were you done with your

15     response?     I don't want to interrupt you, and I did

16     so inadvertently.

17            A.    Go ahead.     Whatever question.       Go ahead.

18            Q.    Okay.     If you don't have anything further

19     to add.     I was going to ask you why did you choose

20     to file in Brevard County?

21            A.    Why did I have to -- why did I have -- why

22     did I choose to file there?

23            Q.    Yeah.

24            A.    It was -- it was based on whatever legal

25     advice I got.
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                                                                    9



                              DELANEY - Direct

 1            Q.    All right.     Are you gonna tell me anything

 2     further than that, or are you gonna claim privilege?

 3                  MR. ROTMAN:     He can answer the question to

 4     the extent --

 5            A.    Well, if I answer the question you're

 6     gonna say, ah, you waived privilege.            I just told

 7     you it was on advice of my counsel.

 8            Q.    All right.     And you were living in Brevard

 9     County at the time in this rental?

10            A.    I think I already answered that.

11            Q.    Now, later down here you say, in paragraph

12     72, HC2's counsel is collaborating with the

13     corporation's counsel in Florida to obtain a finding

14     in this regard to be used collaterally in this

15     action.

16                  Tell me all of the facts that's based on,

17     Mr. Delaney.

18                  MR. ROTMAN:     Objection.     That's privileged

19     information.

20                  MR. NACCHIO:     All right.     Well, I have the

21     same response.      As I said before, you can't be

22     asserting allegations affirmatively and then claim

23     privilege in these regards.

24     BY MR. NACCHIO:

25            Q.    Mr. Delaney, do you have any response
